

Sky Coverage Inc. v Al-Wex Inc. (2022 NY Slip Op 03463)





Sky Coverage Inc. v Al-Wex Inc.


2022 NY Slip Op 03463


Decided on May 26, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 26, 2022

Before: Kern, J.P., Oing, Singh, Moulton, Scarpulla, JJ. 


Index No. 652604/18 Appeal No. 16014 Case No. 2021-03056 

[*1]Sky Coverage Inc. et al., Plaintiffs-Appellants,
vAl-Wex Inc. et al., Defendants-Respondents.


Held &amp; Hines, L.L.P., Brooklyn (Marc J. Held of counsel), for appellants.
Goldberg Segalla LLP, New York (Christopher F. Lyon of counsel), for respondents.



Appeal from order, Supreme Court, New York County (Barry R. Ostrager, J.), entered July 20, 2021, which, to the extent appealed from as limited by the briefs, denied the parties' joint request to adjourn the discovery deadline beyond September 9, 2021, and from the so-ordered status conference transcript, same court and Justice, entered July 29, 2021, to the extent it reflects the court's stated intention to conduct voir dire and select a jury in this matter, unanimously dismissed, without costs.
The parties have previously raised the issues on this appeal in a motion dated August 18, 2021. This Court decided that motion by order entered September 16, 2021 (2021 NY Slip Op 71714[U]), and we decline to revisit our determination of the issues now. Insofar as this appeal seeks a stay pending disposition of another appeal, it is dismissed for the additional reason that it is moot, now that such appeal has been decided (Sky Coverage Inc. et al. v Alwex Inc., 202 AD3d 454 [1st Dept 2022]).
We have considered the parties' remaining arguments and find them unavailing.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 26, 2022








